                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:23-CV-633-RJC-DCK

 MOVEMENT MORTGAGE, LLC,                             )
                                                     )
                 Plaintiff,                          )                 ORDER
                                                     )
    v.                                               )
                                                     )
 SUMMIT FUNDING, INC., et al.,                       )
                                                     )
                 Defendant.                          )
                                                     )

         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 128) filed by Local Counsel Alexandra C. Glunt on November

6, 2024.

         Applicant Elizabeth H. Black seeks to appear as counsel pro hac vice for Defendants Deran

Pennington and Summit Funding, Inc. Upon review and consideration of the motion, which was

accompanied by submission of the necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 128) is GRANTED. Elizabeth H.

Black is hereby admitted pro hac vice to represent Defendants Deran Pennington and Summit

Funding, Inc.

         SO ORDERED.

                              Signed: November 6, 2024




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